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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 MARK C. SAVIGNAC and
 JULIA SHEKETOFF,

      Plaintiffs,                                         Case No. 1:19-cv-02443-RDM

          v.

 JONES DAY, STEPHEN J. BROGAN,
 BETH HEIFETZ, MICHAEL SHUMAKER,
 and JOHN DOES 1-10,

      Defendants.



  JOINT STATUS REPORT REGARDING OUTSTANDING DISCOVERY DISPUTES

       Pursuant to the Court’s Order of February 15, 2022, the parties have continued to confer

about the discovery disputes identified in their Joint Status Report of November 15, 2021 (Dkt.

101). The parties have reached agreements to resolve items 1, 2, 4, and 6 identified in that filing.

The parties intend to confer further regarding the remaining items (3 and 5) and propose to file

another status report on February 28, 2022, to advise the Court further.
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Respectfully submitted,                                              February 22, 2022


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